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                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Cute Smile Face Small Stud Earrings Fun Round Happy Face Stud Earrings Trendy Summer Jewelry Gift for Women Girls : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Smiley-Earrings-Trendy-Summer-Jewelry/dp/B098RSHMLR/ref=sr_1_75

   Collection Date
   Wed, 10 May 2023 05:23:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gvknINWeFnG6gFUzsK5jQ+srVUTakNGGLU22n3TBqiOXn0MncUsWFnf/+E2I/pu5h8ix7yvtkLJPzvx5z4lKCJ7pzxr3psTnaj+o7hdNaj/akFZgJNkjiTg4/vt8pNmiXsfjsE2gZG4V4e5d8vqI7GUObly45/qaYK51ZjwanMA=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Earrings-Trendy-Summer-Jewelry[fs]dp[fs]B098RSHMLR[fs]ref=sr_1_75]]_Wed,-10-May-2023-05-23-25-GMT.pdf

   Hash (SHA256)
   dbc19ec0d516bae16d6e77d8abf8c04214ee72893aa1f43d0743447bff87b3d4

   Signature (PKCS#1v1.5)
S/XJlkr14iu13WfYYh3RKK2tPvCCI92zplG6R75Ju1TwPByTDwkzS/jwaEjtmr5ulw5ztVzVcCDqKoleAD5XrKyl4idgvDngB9mWkUaQbyR/pL7u/DgAlBW73RqjbO//A8L7B8ofvEa9bnt6BsReQM1ZYbRlq+6KXs1ILy4r1W4=
                                                                                 Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 2 of 36



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 07 Jun 2023 07:28:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.118.122

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XIXjGyDAKN6GrpTXcaZwntzdDhcHdZEOPHHaqfk78mTZpzmqMEMUaL0V08Fanwj9SB6pxYXMQoPbRYWY85LFm9W7r5Y+t5uCG4+si2HT2YN8j51kK+HyJddXQIL60lzaJiQ7lFVUa+eGHwUuBV2a21eC9DI5kLLwJiEU4UC84ogMfy0zxRljMqqyZKNZg6RzPIsypvh/
   BrymgHWP9EzG97ts2hOkMssNbvAElXhoCPVG6erwLDxyZH6MFhA77xguLyvqNzn+uOzxs/+l/AqdwCUYt4HRL2FX3h1nP9z57sQ2cewOlyagkpXQeMjz0TQt6951wm9cWJJeuT/dQFRMCw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-07-Jun-2023-07-28-56-GMT.mhtml

   Hash (SHA256)
   2e3c299dd6e78e51bf9e7ef8edfb570a6eb0f119bcc64cbe0689009e4511bdc3

   Signature (PKCS#1v1.5)
LTdSAoTjK6iKhf8YMNKWER77MHtKL3gZ45eugS5sUV0Nigkf78SG7JqC+8JE81H21t4vjJp2PqmPqfCGv3fJsLEspYO6m9S5bVY8vjRpqfbKCf0m9i4FKeaV6zKx+C3rC7yj/
mkTltB9zcOus2D7hhkpokqsN1yuriQVes2oZnfuspRgKFsqntWfEGWYq35QDL7iDxAow3Xa1zYeVDvY7BAO0cljswRdElV09SlKlnCskQ3Jcj5Y81OF/o3cj9Xp4Aqm0en5bSc+SNDNs/h9ZzL8tGyOrC5irWHuSdW2nc3tk+MQLZxZ7XOysTUmCv1GnSn1gttHC0Iwe3HozvyCTg==
                                                                                  Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 3 of 36



                                                                                                                                                                                               Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Publi Smiley Face Nail Art Stickers Decals Halloween Grimace Graffiti Fun Charm Nail Supplies 3D Self-Adhesive DIY Nail Decoration for Women Girls Men 1.0 Count : Automotive

   URL
   https://www.amazon.com/Publi-Stickers-Halloween-Self-Adhesive-Decoration/dp/B0B8GN6W3K/ref=sr_1_73

   Collection Date
   Wed, 14 Jun 2023 09:22:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   f0aueR5ZPW/aMP6/1vLf5sFMLl9yUQ2SjU1JaK/XEZ0/24xO2ienzMsaXaMcOettQBM7X+6ifPZqKzCH6P9h/hgNiTTg5op/9nnt91sAyLfpAX4PHYJ1GugygGTyKiCUbSnUw/v+1SxsDsUpQzkK5fYml55aFzPrM0aJJlZ4aRE=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Publi-Stickers-Halloween-Self-Adhesive-Decoration[fs]dp[fs]B0B8GN6W3K[fs]ref=sr_1_73]]_Wed,-14-Jun-2023-09-22-39-GMT.pdf

   Hash (SHA256)
   2ac0abc69a43bff62fed4bfebd8ef50cc990e81cc772c72cc9082cd6292fe531

   Signature (PKCS#1v1.5)
eS37oZpcHXsLIPQr48OHyMwPJThTv3Fm3YHd7/3c507ZZsBoCiq4R/FJVky/fxEfUzkGvFA770q/j+xdq+OQMQbnuqZb6IkuyQ34EuEadmeVhu8PmHTAe87le9ia4N2pVaMGpXSBqVXacKE0FC1cL6YOsBjPz/DvhZWFCvxlJKg=
                                                                                 Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 4 of 36



                                                                                                                                                                                                           Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 14 Jun 2023 16:36:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.131.66

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mL50t9DSllPW69GLAuVaj5IJZlXbJg58X2Rj0IhjZxP6aTnZKKOFxCxSmfOW754tgMEvmOYTENaeeKGVTLZTP9fzDs0M/FZnPQ39MjKOzxSy1z5RDlJdnhufojZ+FQd4wEgzEmnwDHtZI3YfpwtUt2bhuQvjoKMR5CT3AFz1YY4J0UBoH7MDQ1QBAh
   +t81prvRpAgSLH11fS7IToYbbtfeYwXFP8TKeT+OIP0idyaEJYELWcMflzTsuu8Wa9ioajOZbHApaEX8ccppEszP7exUt02CkYJ6iQSRpZFoZfPNYahJTLapwrqUYxBaygBOi6j905VtsxR4k3B+9ovf84Fw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-14-Jun-2023-16-36-19-GMT.mhtml

   Hash (SHA256)
   acaa39960dada386852203979725d6963df8be9af83ba9e4e6a18a90fdbb306f

   Signature (PKCS#1v1.5)
IiuqyKXfI/KgKOpnl88W4w3ANe3Z0GDoEOcIx770Y9Us7ePNmaTNgahWNfCNY0g5JBgHLGjBcc43COkq0s8kEE3sPOBbFL8p/s4254PmES9oCK63IjhLQAOFEPNIdF1Xw4X7KGHR9IsmSMHUUN3RbFlQihnhUkSOUJ6wLGaBKA9OiSbnyHCSdpCMjNXChKnnt7nJeDZqOHt7RTKxaVn9ToF8s
+YfBxVfsNnZVWPGObtATPHbsJYMZfE6VNCSkaSOQsjJKawye0p4GhFWHLrCosAVKNhzIqN/KpgOzCJrgF1e07ws9/T7cK63K0VlTfDRx4yFsoNyV/E3TA7aDKxHEw==
                                                                                 Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 5 of 36



                                                                                                                                                                                                                                      Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Kalolary 90 Pcs Smiley Face Charms Pendants for Jewelry Making, Colorful Alloy Enamel Happy Face Smile Beads Charms for Making Crafts DIY Bracelet Necklace Earring Keychain for Women Girls : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Pendants-Kalolary-Colorful-Bracelet-Necklace/dp/B09DGHP7BV/ref=sr_1_54

   Collection Date
   Wed, 14 Jun 2023 11:10:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   J54GMJawpVFVtjc9hEX5S0bQg0BsXtNfN+P1iPr45+Bo/RhGSB6Cn2BKVC02Ysy4gbiKVaQA058B6MLqJMObIriZypVHHorIP8CQy/ymAn1D2PouV0kTtsJdgz/wdt8XSDI58lGVvQtMwDWa8c37kiRCWDwbsihXmg4zUt0ujJs=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Pendants-Kalolary-Colorful-Bracelet-Necklace[fs]dp[fs]B09DGHP7BV[fs]ref=sr_1_54]]_Wed,-14-Jun-2023-11-10-29-GMT.pdf

   Hash (SHA256)
   908504549cf061f0efe0729c812dcf078af33bdfb3bf01b9f02135191ee6fa9e

   Signature (PKCS#1v1.5)
iPX0PXPrhEVItZfAiv87rumUa22CeDdDrOUgrheVTCTGSzE9oeQ6R7u3/rm+0y2pnQW3yu1ljdYXLCO25Vv4sxbWNeG3sjZuZNfDpEra1OAyWyuuhDIAM01q9GdT9XCOgsN1w0nIpHQtfuMTyHbI11xu+TPowHN3jImymTVJtvc=
                                                                                 Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 6 of 36



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 08:56:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mQsGy0PNTLOJCyJl8SLroCW0BzjrEBwttmoUjvS5GAZsJXYd9FQsXnmewwSBbxJvRDjZyMxXLPZvEU/8uBmO09NJrBab7jv0YZeIGYcnteYtz8sO1PW4dgWjqLfVj/oPcKiodIpr9YIOXBXoK/FvOjqIxurm0y5sfXwNSRigGLSgc27IE9vvgnGLAgi8rgO3d+LEH7xmXx/
   jPrg4xhDpnaMdKcxWG90jJCDCn9pWb0Sa1x351s/Uu/vITsKuyuYvjTGTteWidWdhADpmUidllqbA11BQIiP8reLg9xNYUM2WixppM9VRjAFdkdZq1SYGrwQjB8Ttr1RlwATalAHIpA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-08-56-26-GMT.mhtml

   Hash (SHA256)
   5f855ca97af151b6fd18887dbac8eb55cb22d084dd38e7ad1598ac69f63d17b5

   Signature (PKCS#1v1.5)
SGO7OwHhYYrBIyIw7UfIRTLwRd0jtWkoNLjamLpe++NZQAM2ezIKRxI1fYe/qfI059oymyDOVo0CmOPUH6ezPPoJs6dL6Ao1rZFIrIUwJtvA7ik+Zj4hKECQ/NESn7kIMNvcrNcPX70yXMjXCwwvUbK6qvnDXQGQbB0nAyvELgJ9PglIo0xCfEWcEgVDXDGzcic4bfdaV9GKH0j/
V7a4+goK5d/0vHYN8UkdukHHUv1Kh7Ko0PjTg5pBblEgiBZyitGWA9UAq4fOPB/NYg0DZx8yWIFpiyxjFMw6Mqpxx++Alaw/7i/FkNDhSLmojrpwQNVC/voiufNRZz0QK971dQ==
                                                                                 Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 7 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Diamond Smiley Face Rings Cute Happy Face Ring 925 Sterling Silver Plated 18K Gold Preppy Jewelry Gifts for Teen Girls Women Size 5: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Diamond-Smiley-Sterling-Silver-Jewelry/dp/B09XHR845M/ref=sr_1_44

   Collection Date
   Thu, 20 Apr 2023 06:50:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   r7eGoOS/scLUl7tbUUnyowIh1ZhO1J6Vqi2aKUx/rspZ77asnxbyn9xT5h8C9nj7nl4nMBcaq7VbD6rm4MPfjT4Jc5EqT3DxqfzMbe5Es2eDd4INP6P+2PZeLuRsrN7Ibuw5/lhZX0Q5/vq5LloZAEpJm0dRXxCwr974d9CbWo4=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Diamond-Smiley-Sterling-Silver-Jewelry[fs]dp[fs]B09XHR845M[fs]ref=sr_1_44]]_Thu,-20-Apr-2023-06-50-57-GMT.pdf

   Hash (SHA256)
   803fb2450815cdb66d656d3e5ea968b68f482ef2c1866fbda9cc7922d0d4161b

   Signature (PKCS#1v1.5)
e7at39YHOTGJpU/ETd4ydEh3QGmnHD4/iQkp6fJVjNkjI/6/Ou5gWFJhgrdKWQJPXTJGfhHHQtz5ie7GcwC2WynRvQzMW7bOt7KZ0cl23+LooOmiaQ3MhPyU05rFTbRfui5HDWoJBozlM4uFTph3Rmx7JtniG0N+Rgky2wVh10Q=
                                                                                 Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 8 of 36



                                                                                                                                                                                                                      Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 23:24:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   M4vCXwEL3cVz2QbJ1iTHenvCAg/ZygJNlYmqxX3XRSq7VufQY1cIbAjITp+kggU4E6tYFGNIa5KE/iHBk8RB+HnZM8IHUba5DfKnJxigyHIke2H2drjgIY+iSjwAbe9Z1TliPnAs6T/ZP9f+leLDmssp7wlGqpQ+YIGsJ+VZo9S0fVFRHCrv27tUn2j8V5DCeFA+9/3z3OBxZTAenlF+vFrEoa/
   GoqFNw/7MIoVAbin5Poj//vN/YokfTTdZf0syFVitTUD27PUZBAACJBpB4xrUCToXovrgOaYr8CRKvpAkBlL33ZI5LfZeRwaaECXx2cocKBrDyPTsjPkfwyN8lg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-23-24-25-GMT.mhtml

   Hash (SHA256)
   8bdcc12a941a9a40a2f71a96a3f15e2b32e06cab2f7a821425fdcf31fdb47574

   Signature (PKCS#1v1.5)
fcUf21LnK5L4A2rGxYXRnA7j8NTJhSyWYoZk1Thw0COwPtCC2ylAAZ5XYtZ0hoj2sDnRcb2oF9POkqvtRgSc+uhBCMSrQZLmIDgQwFbQrepAqP4BvO0jCO8hDbLlhpzYtgHk374Pp0cF1vPJLsymTIJi1L6HxUOlxwur6JY6tLhRQjoQDIGDR9rw+A9KttC/AJmjXJo6DwkMdbHCwKB/RUDktZSj9/
BGqVVfqelDlm73olb+G8LCQSgvwadvAL2FaSH1VCds9Mz9I6VK4nfVrVGlGoSRl+vZtPm0aaSPZSxYYHXGXvmTcFVnN8rro+EFwhPaImFWfJoMXiQ8RMv6dw==
                                                                                Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 9 of 36



                                                                                                                                                                                                                    Investigator Name: Neha P




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Gemyth Smiley Face Layered Choker Necklaces For Women, Dainty Layering Paperclip Chain Necklace Stainless Steel Adjustable Round Smile Necklace (silver-green): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B09JSQM1XY

   Collection Date
   Thu, 18 May 2023 11:21:51 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CmfXDRtYJ3DPuRy9MCAI9SWX3wqrAUOBhkGF560Txgewn9Hid6Lfad4oIcrgNAVfC8+dthv4/Q2E335hDo/pQp1DGgGLgAUbzMlKWBDG7rrwbaYcAXsrAlWqUTaa5LgiviIRjghGx0CpSc6G7a9NDe7meJ6jZjw2RvAZQNJAag8FTXrUXoNNKTPpwMZNhfBTZY2UcxlpQ
   +j7CczXg3VZzZbSX4tJp1EFoLdiNGIZb2siVbbk4huMHtI8Ij8cJgXKfmJ5QkLtUoAo+QQ3OJsvlh9JtdpKTNRL3PnXPQNpROVmMI2yv+1+rw8dGzpt8rtJ7B9lSJutwsn/uagZzfhAwA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09JSQM1XY]]_Thu,-18-May-2023-11-21-51-GMT.mhtml

   Hash (SHA256)
   ea170210b1c103de43bd194a460c672b1256fd20304324fd8dbe2b4570f576a9

   Signature (PKCS#1v1.5)
eXlx2M9rJB2wY7pm9lLpX3BOXj/Za+SsozXHdKHa8YWz4sbxiJTa6jn6ZnjbS33lO/lExavgLqnWFoAYRd2FeLWg8GAtH7kbBs1rsE2/XNkA1CNdI4BfwxKBTDLqNdxJ53cxFDBFp9AO7ZtYip1/26z70ch9CGtiZB+0KZMfQzPc26VCI5KIuxmugR3oP/me5LI+pt3Vk4X/moTvtR8ZFx6c/9/
JKnSqYelm8+vsJkVNp6OwydNQSV0WIR974iedz6JeCD6yAhGzi6L0cdJiFMErXdHPI1bKgl94ldM0pwBHMF8or9n1wAB0e1rV8wAI3RTu7t+qSJTsWGp5LaRedg==
                                                                                Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 10 of 36



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 11:23:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jnWwi/BbjnEql0/WbagtK7ATHQVOLpO33AeUGaeuAiTwagM/xBBAQCeu18s144Q5crxFLH6ZTvmvxEsdMFdYvlQN3GsIIxRr7IBjgOmaNmBZsG3xYcvQmCH9PTvSCenYDqjUk6Z0D/V806uAzQKtoPHQd4MklfOKqrf06l/NbD/uBfotSekrw4p3c4W67rq5z3s+2tHhlO4uCrI/ye6ooB
   +fx8NyjnxyBwTnB93n9hE/Psuk08xor9mSeGXOuMR/t+DG0yjEGeyLgMy/ydwBkcn+GaUVjKgXUw7TRHAts5ctcyVpFiClttzQmO29U17S/GZnELRkdH4z37Ga6ZKigA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-11-23-16-GMT.mhtml

   Hash (SHA256)
   58f982fceef6d2f63838d960188f67e8003455e609c9395a0b427a8b24c05be8

   Signature (PKCS#1v1.5)
Ndy13zDYnKOfbASacXOaoKDkm3KuFZMuj8OrVJTWip/oOi77x6Lg5+KYOkAUtTGl7oWkgpqW3NrQdXMO97nKTQFKhgQV+KB/R1ktVqIoWylfIo9ixmxY4PFZJshQcXQsqTtoBW2BQ0SPm2tO
+N6NIyr6PRyErao1APQpAm65A6d8de2r1szJNhvmszWRefwyCkucRpj8idN7njknWz4vlgm8AfnexdMkcL/6GRcynSEX+x282AvTjkli94TCcSv55gRHPzGw871WhqkkX6VX+AF+Xz/Ywmsl+kxFvfK949x7OJf7NpCpUQzhTtGmOd/tvsXOA+dFuEOxxDyKbSkmTg==
                                                                                  Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 11 of 36



                                                                                                                                                                                                                                      Investigator Name: Sarah Christodoulou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Sheet Set Queen Size - Plaid Bed Sheets - Black and White Printed Bedding Sheets & Pillowcases - Super Soft & Deep Pocket & Winkle Free - 4 Piece ( Flat, Fitted Sheet & 2 Pillowcases) : Home & Kitchen

   URL
   https://www.amazon.com/Smiley-Face-Sheet-Queen-Size/dp/B0BRHVWV3S/ref=sr_1_252

   Collection Date
   Tue, 09 May 2023 09:51:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XPLXVAkiPY8LgwLsCO8mwwjt+YFf6MntVHVCQshNgkpXMv+r4f49c/swYK9fHnbieqvBeZ62D4CtY+L7V8bxRVFPt5Hpt7jZBabY8/ddS6FcERGjGft08/HQ/jfrvU1OsMiiOm1b+yFhuQkoxNnmm8AqTQy79MNIXvQO4bXU6G0=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Face-Sheet-Queen-Size[fs]dp[fs]B0BRHVWV3S[fs]ref=sr_1_252]]_Tue,-09-May-2023-09-51-22-GMT.pdf

   Hash (SHA256)
   1715c3e0de4d167c1d9dc64a29c2621149a7a8e1f2ce727b974cd2c14a92bd82

   Signature (PKCS#1v1.5)
MMH5+lhonKKIKYj1dbK+Xh3d/JSDABPjcn56GP/wUDaLLwtx29xyc8i6+2610odZWsb+y/7qoeC7WxR71iBWsRMU6IjaumQz3PYKZxax9QEFIjEQrXNIL+korjRKtDZFVW2KWIZJ9qUZoYKYkHpAyySyrXLwUvDQqtQHBxaMc/E=
                                                                                Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 12 of 36



                                                                                                                                                                                                             Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 06:45:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YtnE0lZVZRniwD0RN2YenfUZvDTltvdf5HLu9n7AblP+sV4yW2df4LE3Z4BL2lqiHjcEQGTBFL0/ltwCgUg0m8YZqWsPQEXHlZeaENrf2toqMJE6uqxFJd1hsrZ0zxwwQ97PRpJZR8beLxKFdQ3AZwnaEcWT3XA4HhNkXHRrs8hFwPEVbGuI5C+U9oFBtMIzYxTOft24bUl5i+aCO
   +fSalhgbUq6YPl2m4FVmke5UxI4I9hy55MsGNllZlvcDBb/SrvUWwA/aM8Q4cls9f6Lit369RyQhMFtAilpocnU7YYfVfJB8fSo3w96yltekSL0vxtegiB+i3NIyDlF1dhEaQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-06-45-13-GMT.mhtml

   Hash (SHA256)
   e952d5e86b1daa20c7579d13b3c231de447f6cea897c8e3d3785fe8954a42c86

   Signature (PKCS#1v1.5)
k8yXVHijpdqfQFXfvXldXmpbmGi2PCRKzhYI4E1WfMYc2v1xfl/W8L+pm3xuqSyeqGzDT+J54cExxLYNC8nDs9Iao/uA6/8gx6AYB9BE04povEZNt2RzgyJCerX4gaaMZWSKeGQRmsUChFIR1pb8tj4uw6w5mQSiQxjWgEETPJ6jUhrECjTcZ7ImxU3eA/OljqS+Rpa8uxvEy4AXbazV3LhAnedk1KMdw
+q6dDReqnaIXzUXnoOsgyHIkJbCbwMyQP1LkZYDJ8uRgJ4NufoiNhO1VvxrRPkJsTwIn2yqb6CbpisQQDQtEaN2bl1crhF8+JqA/Z895RYK5QCFIOy03w==
                                                                                Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 13 of 36



                                                                                                                                                                                                                                             Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: 18Pcs Chenille Embroidered Patches Iron on Patches Sew on Patches for Clothing, Smiley Face Heart Rainbow Flash Applique Patches for Clothes Jackets Jeans Repair Decor Craft Bag Hat Shoe Backpack : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Chenille-Embroidered-Clothing-Applique-Backpack/dp/B0B1ZKHXTZ/ref=sr_1_51

   Collection Date
   Wed, 26 Apr 2023 07:31:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Kl+VgemuBTd3s9QDUqHiliVwsaKuysnHxKtbipNWSl1yTkMLOIUpwGbt69foOAdMwzTMet5q1LencUaOc2iGa04ZGLSZNg6krhMN0fRlFQ1I8qHQogRLQvRQ+kHguaFXfdnlSu4b2z/ltfIXpLdlo4gUWs6fzcKQs/zO7ZiUCPY=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Chenille-Embroidered-Clothing-Applique-Backpack[fs]dp[fs]B0B1ZKHXTZ[fs]ref=sr_1_51]]_Wed,-26-Apr-2023-07-31-34-GMT.pdf

   Hash (SHA256)
   07e0330dfb477af10a579f3611303d3e2e70fd5b4b921cd6cafbf2ee8ce352f6

   Signature (PKCS#1v1.5)
ZdQf0GaAU7kOcl/qvn28xdXLSGrumj8JUq/aP8y/kCoF6XVmsioZDCNVzUu+eyeTqA30qFZ7+i35vvQj18Rsd12zlrYmmTq0hOtADtRmm0mYuodvq9jPbTeTFpJwHcSX/32w4yCsbXxXSO6zjRzXJ9J5Fuj3XnSrmhjdlaOdTAs=
                                                                                Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 14 of 36



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 07:26:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XApMZFer0hOI/h9H8l8L2hBkA81U0kx0pbQFTDmYxyr2jq8Qo/pBniaDPe+MnTieAcvmF9fm8T9mM+fsnuWdo7+zUd7g9Nd/u0iQsW7Hn7ukWCObVst6u12E+Dv/lkI4yWigPIajAETcI5U52+ajmlWwkSI90w7a/TSKNpxpldOXu+qW75SlrzGiJoerMDamOZoWv4B6uPex4UfKjWK3+7Zv1u/nK
   +gFOvGuOwizOWm3J7RW/tT+PXMM97sIakItLnXjsXRfLpPN0RjfTKb+gMhQLD03pakMwcKVlpvnfm/AGguMY4yHXWPLVrdP4F6p4PexrRYK28TtWoWDOtxjJQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-07-26-30-GMT.mhtml

   Hash (SHA256)
   f31f60fbd90270aa0e6d97d4a8b934c006956567bd3ccbdfaf728e3982f0d66d

   Signature (PKCS#1v1.5)
EW6k/o3Aj5voSG41iiBPtL+Het8DsAt2ZdhW3j7u/2EX14+/h4/KGdyN9noHlCiCVntMBq4M0RGoumYQY/4Yx25eN2FyOcNG4bWp+/
sv3yYEOwHcQZU6IalkxOAllB5PdhTwwx9IR2ECAxXZajTKwa3D2aXqiEaGvPggqerwP3MIb9sBKoBwE42m0ptstDfcOmbmFaDbc1VzzuntHtKYl2vlOf7yJ03Dfzu6cHmDwJ7OY6Bh5sD9l+JqSPZ2BkRY6+hgNUGRiGO4QJY7B7qwOkB1SUuLz7f4LWDq0HmBErbIUwHq2uK/
eXDeaH0ryyd2PTOc86mTpxSouxxOqmTSjA==
                                                                                Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 15 of 36



                                                                                                                                                                                                                    Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Odhtst Liquid Smiley iPhone 12 Case 6.1 Inch, Shockproof Protective Designer Cute Cool Cover Cartoon Art Aesthetic Phone Case for Women Girls Child Men for Sage Green : Cell Phones & Accessories

   URL
   https://www.amazon.com/dp/B09N6SG96N

   Collection Date
   Fri, 26 May 2023 17:04:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iy31eJjo4NaumW4vHbwcduWXDiJ2yBwfDRg95O786f2u7Xs8k4qw98NGjw+iZeoO8wk2SQgumSgS7awenvd6Kuz3OM41KXXV2hS7x1ett2sHZFovfxtxsgmDMXv66AmDNFqf4dENd30Ei/Z9asYJVAR+jMe+xcJ+ubZmXSz37L3TmXqO6NUPHS4QvMEdEQo4DW0E70Yk33H/
   Dd85zIBLpmBdLcH2/pURNnWdd9WDp4j8F6FiVgz5XB8eU1I1ChQxsVZPqYDBJKiw4SL2lRVH9puTWiw/Dr5u0a31NMDOiItabG9m2AlBqNuD4pRSTUkbmY9wjQrBtNw1wsLFJdYVDA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09N6SG96N]]_Fri,-26-May-2023-17-04-52-GMT.mhtml

   Hash (SHA256)
   1d89b2a155c2b25c4d0162f0c1044756236bf31e5ea47b9013f5a25d3c4ea6df

   Signature (PKCS#1v1.5)
Zo6NxulFfgly84zkcCeHr3VjpQM24C9V/ZcntTfHnDrBmNIfqmRmKubJDzTOVgdU6KcnAWyYGCr2a7c80rx6RflO7GJfwk30Z6Ae0W//
F8YKncCyPqmqDqdxsUzcSj/4MbDraJMxp7m2X0VG0t2B/2Mn6zXSZBUUrX8n62rjuycjaynXStX8Gbt8+snbdP6IByxuI8jeYwExkasYVId8vgVCRNNQvko6sdQ9BsDoaOQhMja1JjEP0vZYpGsbEq8Uyt9Ol26FnOJIvTpfBq0pwz+LWqMaBPCOUylSX5U0TII/2cYzFpELpLzgBLIxQJKaOhndfYfCO
+tdftDgQ2t5Lg==
                                                                                 Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 16 of 36



                                                                                                                                                                                                                     Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 17:07:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ku91jGyS/YfrImP8pyvmAZoKqfF5BN6YNrgX9YBrteDHKzokz1xidrf3auB0f24J8UfR7596xyAjMO9wqJCc+6hlTcls5RtHnL5b2l4D+GTg+4/t4IgY7PqHYGiB2WxnV4o/OXtls1ML4r3ZhGWKcRloGDBYJElPpGhEyFDb1St6EmaO0r2mIggTYRdn9GyhkEvahS9nXraeKd4CxLSk/Yq
   +kVcIKo0ZtjMUTFaNUyBkmoUpveT1o7iuGREUxmHB0J8/G/OUWzLpov52gXft4LPDxsrCTtVQF78Ri9WVcZ5yZOP1TWrg0x8vDv+K7GjKjEBD9JL+eMAsc49KD0fg/Q==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-17-07-34-GMT.mhtml

   Hash (SHA256)
   3e27ed202a42d0f7ce44bffd9dee6a5b4e472eebfd75f89a6c91d5b25d755f07

   Signature (PKCS#1v1.5)
ZMKSgZLyrrcYL/UWyzjIUGMFGh6KgD7dxaWmbKCDdq3I2zfpf/Hd+XqmOjC7KQItIAPutRHIMQ7mz9rVIhHWrdWXYMwT73yXowgHLd/qXs2LGBvPBByIZd/abYpLxU8mZm4hGV9N/tGgjRzci1a3L1ZSlN+Vwc4mBgZ5NIthTdAOdJf3q1bO/RAYUPBD+nlevtlxNpW32MTGd8Rx7aZfh3O/
wqitqbhdY4Dy2rUq/0vZ2t1UHqXA49DPliRX/n5JuXBpWB0l4LaKm6oEGKjUIysFCwBdwYmnsR/nrSmQRlRWCnO/43LXaTmu988nNVHfJMYmpXvYIr+DXszLGyGA/g==
                                                                                 Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 17 of 36



                                                                                                                                                                                                                         Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Gilieyer Gold Smiley Face Ring Signet, Asthetic Cool Dainty Statement Rings Colorful Open Enamel Rings Happy Face Rings Cute Y2K Rings Preppy Jewelry For Women Girls (Pink): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Gilieyer-Asthetic-Statement-Colorful-Jewelry/dp/B09MH66FM2/ref=sr_1_98_sspa

   Collection Date
   Thu, 20 Apr 2023 06:11:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QY/FWcnZX/uKZQjPlqHOGVrtGV9okkLF4ixFAf54sZqujuCBjambKdKaIvEh7HxrKc+Snr0vJTRzSlvGDv483BNBs3+SdsU8nuitwVJZv+yW9pJROGDLVQT4bkrrCsAlB7D4qqts4rlt+ktGOHmyCiYpzR7MPYGU4ntxQ7E4WAw=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Gilieyer-Asthetic-Statement-Colorful-Jewelry[fs]dp[fs]B09MH66FM2[fs]ref=sr_1_98_sspa]]_Thu,-20-Apr-2023-06-11-45-GMT.pdf

   Hash (SHA256)
   88d15b1946f8c60ad0788d474c4b3c5ab1b1282bf1a0926dcd10dd4033a82315

   Signature (PKCS#1v1.5)
L+Glbu7iSEx8LmlimaYSMHRsF5SJSGYuoBqo8//G0X5s8YrLlFKAgoMdmPszd4TVmXE+t83EWeBmAog5A4IPXl/A1nV7WgRQd3VNK+9MKVotxzZsAjpn6QFgIfkzZ+Asrde2x3Va1GL0V5yODLEWtw+mDEw9YM5tssGLOkM11ds=
                                                                                Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 18 of 36



                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 10:29:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PSLPcQY9vV7d2gMtQ/X7zzmO69+3ByIIGQWuyC81qk6kFCqDnbD2bwlvlzN8wgE2rtwkLmUgeIn+eFE0eBshzrFH/4Hb2GkXfBLBMVNBhMsg+egEzIFc6Sl+8QU0K72AHOMjRdzMMuP+0oq0a3T+zdTF+VWtp+t/RTrJfW3cDk91q1rs2ww
   +Bb1GrQu1cki45aVKfT5fg7gH2USKsqoaQiBF20RWmSvduQvcXJBy/VRN943f90ZIBy/zbCX49yTpsuvWLfV2SJ3uAGvcUsQ4s+YfljiewALSNaSL+DkbmDG57LcpchcTcktevMVnQYDQTat/vrPHZfhkfb3RxRkezA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-10-29-33-GMT.mhtml

   Hash (SHA256)
   5e2cd712c3e1d54b207f127a5cc5754b40b9871671aae5edfa73421dfb001695

   Signature (PKCS#1v1.5)
FkFeoCPVhEOir7Ao2RV/fspb3WuAJ5W3fQ3UL/lpHul/DIIGmDCtOnzWAuYM6Nhx1d55Ly+k28ch3MSpyf5WlHzAELDEXPIPkC3i7ukMtUzdBwmrB2OYf0XvXk/aHpG8ZUxqvX0l/Hfq4EAQmNLUhj2aguo7L+JiQgeRif72lNCNMWkfQAObrjIuq/
bf4ylIrv10Zj1qhggqtb2mQ1S8qhCfaVMgeeGBtPxPEHtwfi5ZDrvzahBt4iOHz1iydoTE1rHAGgdu4i0nLPhTKiBbSv0sCaoWyvAgSUsuEyB1wTlw/de7qd1FOQ/97EZWQZdKvOEqmoBBlfIV3Vs0AR4HmQ==
                                                                                  Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 19 of 36



                                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Slippers for Kids Fuzzy Warm Happy Face House Slippers Toddler Soft Plush Retro Smile Slipper Anti-Slip Winter Cute Cartoon Shoes for Boys Girls : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Slippers-Toddler-Slipper-Anti-Slip-Cartoon/dp/B0BQ6P19RK/ref=sr_1_210

   Collection Date
   Wed, 26 Apr 2023 05:28:51 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EaeHD3KF2k6ou8ULa2bWPNtqXPGHjOvSbzAMXtdrHtyBBNyBInmSaeLGzAou3LKHiB9dIMvVMgb7FvfAYxxqPQDf11Mw+n6c72jAEbGeLuhGQIWRKnq5TcbaDo7cItnmWrKqrdyRvKyvbM+DRWiph4n+SLEes8351O8AvnLTWn8=




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   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Slippers-Toddler-Slipper-Anti-Slip-Cartoon[fs]dp[fs]B0BQ6P19RK[fs]ref=sr_1_210]]_Wed,-26-Apr-2023-05-28-51-GMT.pdf

   Hash (SHA256)
   14e422c026923680196ad723f02fa25204ad38e2dc620236f7131e62d6abac4f

   Signature (PKCS#1v1.5)
WgJ104IbpWo9g2uopuM3hlruOPJdpg2Z1FdKURcDJcXxKHxD7Yd8fP8sqEbxcqladQOBNDL/heQHlj7bQIJWSfew6mR71q+laFMBWP+0+ZclfnzVMUe5OXceugDZPkQxz3V86F4mrMpWe9QFuxU4PqMMYkhkl1zBV6ZJaf7b2EY=
                                                                                Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 20 of 36



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 02:34:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GZ9gZUk7og9MF23JWzjqi64oI9vDbSxOSSIaXuXuGikBin/A+DM+FCRLnliAI6kxvuOd0g/v5HM6isennJiib6U1fJVtCVMbbEZiBHcPahL5QmIJHl9OJQ+5mP0rZDunYFnNPdIs4/3vm2vONLpR1pTXWreCGKA4XlyA6quTd
   +NegMpp1KrXXDThdSweX6/1bK8fs4QRZbkWNoupw6jE5EtDttOc3tbKubJWWqCKgFnfxugetVjb6kj94dV/dB1sBeFBOTmuchgtuuHz1pRtFM7Cyob3dwGL/YyktBo1ow9bixhDSBMZOT9CPd5kh9vkDSyPcZU6cdV/4PVklZ19Ag==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-02-34-56-GMT.mhtml

   Hash (SHA256)
   b961fe0f818e733ede7f21068d3c1552871a541c25d3581b682b4980cbe31668

   Signature (PKCS#1v1.5)
CyF3XT8Yjww9wjnb7zZEvkvRqvwSuoUHFYkdhXF/2dg1k7jUzsg62T37wzW3DkxA83CznTwG/PTE7yDqjfjp+wpeO6oqYMdJIwhq2nXQ6h/mMhErc/vYxurpdnc1gfw9N8g2SPElb7FIdxa/g2m95dZay3AVtW+0yrtNJK7o2jKitw7IQ5sfwdXHqx3Pyt1LOKnwb6KxCUkOci1dUnjr4wJvPbx1bvuTfjW/
WvwKRtdlWJsPdUn2ZsMlvy8pK0/o65r0+6hRHDeLnBvZNfl0rfhugsMLozcpJYPFQBwm1+O5tRR/BbD9DFqToGN6mr0wnRof7p/mqOjAHnEI3cNMNQ==
                                                                                   Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 21 of 36



                                                                                                                                                                                                                               Investigator Name: Sarah Christodoulou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: Clay Beads for Bracelet Making Kits, 24 Colors 6000 Pcs Flat Heishi Beads |1200 Pcs jewelry accessory | 14 A-Z Smiley Face Beads,Strings for Jewelry Making Kit for Preppy Girls 6-12 : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Bracelet-Strings-Jewelry-Bracelets-Necklace/dp/B09CFMKL1K/ref=sr_1_24

   Collection Date
   Wed, 14 Jun 2023 10:54:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   k19HSN29EfAXIKA9pfHdiis7BxA34u9yrdiKdO3NsPJjqHlhyL6w7UokqhIm6Aa7hfCsennnQuBS5fPLsyiAUpFLRFpiNJCgbzTnc0fL/VzMhiu3COnfORZFb7V0ueKNFPjHBfii8dptHYzl7qW+ODHiW3uG87p6zPzRgihmsNM=




                                                                                                            File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Bracelet-Strings-Jewelry-Bracelets-Necklace[fs]dp[fs]B09CFMKL1K[fs]ref=sr_1_24]]_Wed,-14-Jun-2023-10-54-41-GMT.pdf

   Hash (SHA256)
   837a9ba3e336a30789476b459ef3e072a110432a3d5576d59100bd603c893136

   Signature (PKCS#1v1.5)
hOd9cmM++VS7c/sSn5PZ9Hdda5z0Z1swaU5j0eX9MfxmdAKKxuV8IfRuebI2nM1a1ar+wHtThmSXkBuxetMfvY735itKy2zSIZMFiRhxUa0c5bfVLhuzPCp+ArrTDHPKzE/EIlUdrojxyTUXF7Az+GBbDBCBZGV2CTHIjVoLaYI=
                                                                                Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 22 of 36



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 04:49:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   K5ePITQvDmx9goSmQ8HWuhd9K+Rh6ceJU50NS8Xo/6Bwh6l0gJQ/MxhK9G5mY1Y+XXqDfN/z1Xbljm5qvjKAPX1Iacq5OVukciBvN1F6EgDSlXj1W0VQse77orygXmYMR1j3yEjuTAPmhb+2rNZKWTm2aOUl7HZVX/63EGbwV899QwVpMA8nMcyOtlol6RgUgHN2D
   +JeacnV1tc8XlJYcKU2WwLfP4hSUvGM1mks31CJ7wk0PM6HfudaZNxkWSVgAwNrhE0xxnNbeig+oWMSujgiK7CrXi/NgNyIcHeqw87jhB6jFYnHABg5ZxtCG7dp9IIWDfOtI20PfgatsOOkJQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-04-49-38-GMT.mhtml

   Hash (SHA256)
   a7ca2b11b92f8ad45e2b5edb83a899610aaefee99ff308af1f0fbb455c307c32

   Signature (PKCS#1v1.5)
h8QulHEngvnrDmNoxNR3VYz3YTeB5pL5y2B9lMc34el15rH8VKlJi6OLW+KErL7geqtQBmjgsLXTUxtiVxL25VDX332z42ehopylFIZvuSFAja2+H5esWZ3rb6tcJv+wwQ35q8JjPTf07ON/ZQOfGrIKBL9DM2JVQxaBm4mzss82lZiomp1afRVXiQjQjK8lVhm1bjYrWLRrupY2KzLRdSxMBC5Vlmdp
+w83VnXh2sjDRGaapfuFXgJL0Jr3ZjTWSqlY9OIlY5P8RVu+je4uTLSPI2k7UBTeB6LAFR3xo8IkRWYnp4B4tAHRC3Zk1D6HMopIlJJFKaQ/w2ZWTZ6XnA==
                                                                               Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 23 of 36



                                                                                                                                                                                      Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: GLORYMOND Smiley Face Necklaces for Women Girls 18K Gold Plated Mother Daughter Necklace for Women Cute Pink Preppy Necklace Jewelry Gift: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/GLORYMOND-Necklaces-Daughter-Necklace-Jewelry/dp/B0B3RWBQ2F/ref=sr_1_188

   Collection Date
   Mon, 24 Apr 2023 06:08:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KGGba8JAaKSxZ5NUeW7BSOrbQoLykjgZnj4OYDTSZ1wZD0jO0EUqHoSe9athDqBVTHx+qslXalVXMdi/keWG6J3Vv/gPuSILLdQ+ul1ObDbkG6i2nO5a6hDUxrkIqNRLH0gdnkOdIs4cEBQ1fVzFOdPwwvPeogz7AVWrIPXj+Vg=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]GLORYMOND-Necklaces-Daughter-Necklace-Jewelry[fs]dp[fs]B0B3RWBQ2F[fs]ref=sr_1_188]]_Mon,-24-Apr-2023-06-08-56-GMT.pdf

   Hash (SHA256)
   d898bc28236f691bcf515983af51ef254a1db2c25a264a33e0ec87df75fdfdb5

   Signature (PKCS#1v1.5)
JfVVRtaPru8Do2PijX/KlFU5djzk7BpVsgdDkQy5s87xBzTHubRjis8rFUMsJb8SA5yMUoxgBj3lAHdRIuZo1r51H20MERFQyjg4nOKlAoO5c/E8ZJEvAr01iBemvM5a/kOVMkRhMxymY2MP+9DRmNArspi9wr7jL5S47Hp1NSM=
                                                                                Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 24 of 36



                                                                                                                                                                                                                       Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 09:48:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fYk1uHIgwQQjLwcHaQYAYnAXKw0JHmaLrI3E10EoqbjdXG/BicuzJ4ivK6b+TaSFfxb8SoR0dnrDpyMstFGCDZT4ULF21XVL484vFAXRYR9sAPGTzTEYZSTBsc9Sake/gwEZRnmSvzPzdiGLDIVjtuquYdVmVgdgf814S9u49nU3fls7CTGfJzXW9XnvUpx
   +ao9Bp3IRVxqoDtUJ4XtvIccuCUlkEhplc5UIo3QyEHXnFTTLXsdvxzc3bhBrjnPAbKtHHnoVWov+n2z8keTJx6VB8HM8yr4rr8oty6rETTx0lHnZJXTkIOy7vN8PkeHaul06Y8k270GHK95jCuaI2w==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-09-48-55-GMT.mhtml

   Hash (SHA256)
   686a874e112ebfbcb06a21811a7a82bf6fbd052c936ae00e6a09828af1c2cc70

   Signature (PKCS#1v1.5)
ieGwVrAeDFie7Y74s1QxN2zMTnYG/YH8QlfehTJGzktoAsuhtwNHJ4js+VWIIce2kSWrHhzVmYC66W/eic9kkICWS9fkwzF8r/77WerBA89IZKrq3OrLyw7XciKTorqFlHExbvnzqOpmUxWkShPmk3Ey+zn7ffnbuXZRAIswEwVITK7UmH5qBoDZ9Fr8CaRB9KCMxnnoyItFgll7b/F/
As1DvLC0au1izJ2VT0hIRsUnRP9EsUW+HEoCOseZ55otnM+8zJodwG0ldP8OsncLYX4Ed90kmyfA9M4oQuOmyGgwuEqXpYgLeyQsGYxNwbt9QSRH9RAk+Hmo29BqLXSQ2Q==
                                                                               Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 25 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Necklaces 14K Gold Happy Face Necklace Created Opal Necklace Preppy Necklace for Women Girls (Gold, Stainless Steel): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Smiley-Necklaces-Necklace-Created-Stainless/dp/B0B3WKVCS1/ref=sr_1_344

   Collection Date
   Mon, 24 Apr 2023 06:48:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   c/xLlsaSqQiOW5+5p8M9SiK4QJzyfTfir0N76z5D0DUJVbvrSsHpBMyC9OTRvgSJ/iGIvP+cNUkfRSS8uL1pdPsPXMmx1zIR1WHaL78Vm+ZUUJKnj2+uoUwFwBYvrDPSHXtCQlYGVu3QHPEs4lOY/Zut35/4xf7Rp+emFZJPJGI=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Necklaces-Necklace-Created-Stainless[fs]dp[fs]B0B3WKVCS1[fs]ref=sr_1_344]]_Mon,-24-Apr-2023-06-48-22-GMT.pdf

   Hash (SHA256)
   11fc7ec734e2ed71720bb645fbae0cf47094a93feadab5b33ea1bba14ea08890

   Signature (PKCS#1v1.5)
noDmJACdSidWFneRuvTtLBhIsuQROrEviPvG1PSllTARJUgzxtwPOc8NwWxBGnvJcGDIXVoahR67rDxz7DvDjypFD7n/JKLQrHHk0lPnKjLpmhDsvY+RDUBGoII8V/Id4jxek8ARZvBedhlsxbbTVRHjSIfRzzb6lFvfOh4tQZs=
                                                                                 Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 26 of 36



                                                                                                                                                                                                   Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 01:05:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QGF9jD2pGVeQsAzlLXgfBPeAYd1wsxwsIHRzFhi2MeNNCCxXZuht+sHkpBliGDtwDnMv6HhSDPrIEj2LlL8QTAWPtUGvqtIe7nYMH/nHqTDa5U7CABn3qqHLgv5rsk4IBZ10ej4usFQhbtWpujjMFJ0ec/Mq0CFc92kKJQx3X0Iso/
   DIhnl5A31xTRNwov6NZbJcAZC7XaBftRwGLaHdOAwqlxXfEm54PKgqqApKlYPaVAF8v1gB6dWIz9LkLSoeIIYkxhWNKwx4dmp0je1ibVWOFM3R5mIdNBmE4JiI9rMt+oDwO7hqw+poMIH2OjfdrWT3+EeO8KAQkrkEf6JB+w==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-01-05-44-GMT.mhtml

   Hash (SHA256)
   aa21f29a45f81f1f79dc6b463aff3f3fa2a9c605db560eaa79d049836a3861e9

   Signature (PKCS#1v1.5)
mo53+mxIqSV+2HyUVb00Qd7Gx682a4kXU49B+wAe8cpkYVK0MSiQizWW7PRmqafAWiC/Kq85eTlS/J8N4zT7hwQCWzrEXUvdjqysr+G+pJjilyN8ehlGvKHGJ2xiuFMXJa8hxrfE/YjoplGcOP512XuayOAIwKp8JHkFQ+7DAKXt5kfahTpKEu68h+iBO6rJ
+z1tANvEak16J578m5kj7nl3YdTcIF06gn1k3GrMklrLrcZUiU14H1WJGUKTADnjuc8+9NF8E0v4UaLfrurj3HfVmnQ3qWEUp/pzxtLmgXym6t101aG8Gx6OttTw1Apo/du6+cBI5pYnaNTOn6ZBIA==
                                                                               Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 27 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Thy Thou Knitted Beanie for Winter Slouch Smiley Face Embroidered Mens Cable Beanie for Womens Skull Cap : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Thy-Thou-Knitted-Beanie-Embroidered/dp/B0BD8FTJWH/ref=sr_1_98

   Collection Date
   Wed, 19 Apr 2023 10:06:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   D4uZgPWdUL3K5Pa2Eo4aKIz/2H1RjgYalI44ws3fwj5Qiw0+zm45u35vA/i55FYML3g1mmwG7xWDfxL49g+MLXC5QA4NN8we/tIBt9ofemwCMbJpJC4n+HFDVyjjW+f627f04t7PWbO66rBuC8LCw0YZgKZeO1R+6FxLw9A1Hqg=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Thy-Thou-Knitted-Beanie-Embroidered[fs]dp[fs]B0BD8FTJWH[fs]ref=sr_1_98]]_Wed,-19-Apr-2023-10-06-16-GMT.pdf

   Hash (SHA256)
   363084bac89a3e292b37a0c1e90b6643d6c697d82616363bad605601a5ba3f0f

   Signature (PKCS#1v1.5)
A2Ob6eFt52v8jjRefeKCD8VpOtSFB8RxkpKdSTeJigqXo6J3EP+OaA+xRnmXmzqPkMu3tSYHZAei99IygpuyubC0vwBbkEkmB09M/3l2+hazHlPGcT+jqxT3Qr/l8sI6+jx+uAnwxwJEd9rH6lTpIHsd5GUx2OIwkjs9gJHdLWA=
                                                                                Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 28 of 36



                                                                                                                                                                                                            Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 08:14:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   g+R1VdAEjO+q6aE+03nOYecWkPI93xLpOe1cReztF+U8rwK4iv+FvG6UrZZQLAyPaXZlzgFBcNPozASK54b9aau6n3IuEx0ok1HHBZNGG9ZVt/Eq8A1HrATHD9S/3OuSweXVBu1Zy/7zblWwPxMa3mbeq/LJFycORiveTu7kLOZZDXYWkckm7oUOdVqDJi
   +r3Wy3TlK9RJCJT11scIi6AB4VtbYtkYOVlTZF9xiZYNYU4ddOJQAYevqWDDAfO49aWexbzoY2HD3gq8dpVEFXt084OAy16M7cZFe/kyYvWTPYHc/5n/NPbbNFzkgZkQauJICG5dVgalGpkz2DjmHwWw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-08-14-36-GMT.mhtml

   Hash (SHA256)
   b8cdd91938ffaf22f3316275ec58aab1e3152b011f2782e8c54d0ae2e8d2e052

   Signature (PKCS#1v1.5)
jSwZdhs3r4i1vGlSnwCSDjEazgS3V/lFhuRirfsQyP9L4zmRU57yt6k0dELJzRBBx+R9NMi6woBJC5ncLhcbMW2XvJrliTgIqzdsEyLRFv9mNB0X72Fa8zyCGkd+D2DG4MBHsdfy35NBEF30//LKbmqqdsMwDNhWKGEMMCVDAVYEwpUVOZ5kbqkL9YzhKCQV+qSv0iF+0HgF0BxDr/
MRuTi6giItaYK27lKOgckrVKP6pVF45KsV2LmATGlb3u7WCBW66jQaP9+VTmaehAqQSfGZ9IQSwePRlOQw+/MRAW932iFwI8Bp/ru/uEUIOB7vEY8TYFCH1ILEvZeNKPKNEA==
                                                                                Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 29 of 36



                                                                                                                                                                                                                             Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Goocrux (2in1 for iPhone 11 Case Smiley Face Cute Women Girls Phone Cover Distorted Smile Design with Slide Camera Cover+Ring Holder Unique Pink Teen Cases for iPhone 11 6.1'' : Cell Phones & Accessories

   URL
   https://www.amazon.com/Goocrux-iPhone-11-Smiley-Distorted/dp/B0BD7S3RW2/ref=sr_1_86

   Collection Date
   Mon, 24 Apr 2023 09:21:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JS90hlVFyfa0o8A8xVslh8eKvhPKc8AssuL6+fHjb7IMdbzfJy55U7UVKDxD8lPZV73nbpJIxjcYBFgnuphWMIMJ6j5pExpvgGHwN8TBP9DI1X/1jwrFChZcFNCUBpvffI8ULpVxyI8PMpRINxbA/+WTX7i8zs0Yc1cEEDNN9wQ=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Goocrux-iPhone-11-Smiley-Distorted[fs]dp[fs]B0BD7S3RW2[fs]ref=sr_1_86]]_Mon,-24-Apr-2023-09-21-34-GMT.pdf

   Hash (SHA256)
   fefa6da19532701f6eac936b65f3294b92ede9e4ca0f0e04dcac2d556fa82565

   Signature (PKCS#1v1.5)
ju7p9Nc5jXeG7azpsVHxxU16NlIy35K65IkR3UXoSi+8M9hVIpT0DxCsQaSnIZreyOlUu7c4etLmtj5NY9sa9uK7ncG80Ca0wM3YP8QT9sfq5iaSdDwmVS+ps15NmnzUsy3dEVqquvYx8xfWux/DcZfyphmnwDOUZ2EiEMfUwPY=
                                                                                Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 30 of 36



                                                                                                                                                                                                                    Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 27 May 2023 00:46:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cFGQZaTZ3xCg+qHidVol6LRHOsufR7sagDT5WgKv/D3MnXVA4THMp6lPhkRi0eeZ/VmGvbe49lj5PGPl0oJxp00Fv2zxDP9G6UCWRDbnRtbC0t3EGfKijkRsPuMNDpKgGA9QEQYm8t6HAt5D2jQGwhSV4P0DfsavQK4dNfAvrC82opXTpem/UXnC7x+//
   IOb3pTdYF8KzT6WAfNlZSwxbNJqR6yu2MvF4iqLH19CRCPi6QdyzDaQg2MxJlZ+jExRkwoSPSZTWDG3zkE2+RtNeLFnGWk4oua3DX2Slipi3IcfMeTbQUBeyImVpYU+niJxnwP2A61giF2Wczzf1cRdmA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-27-May-2023-00-46-58-GMT.mhtml

   Hash (SHA256)
   ecca01a62b5721e7cf7179935202e9b3480855c4af8d2bcdaeb1fb8261a32730

   Signature (PKCS#1v1.5)
NC36DlV60lqqEfTzSp2oGughqzHWHhao5RouFBHJaBUUcCgabaDlJneRYQ+OfLIezAizgbGag+7Yg8S7OS+pFOrCqifbyJ/SuF60MnzR/r6Xp/Y/fC46D4cF0NRSqksA4+aFW3zuYrTRoU5U8gCplGzKqIu6ysrrjf4eWEh0sjSk/3tnrzuPPeM6AR70itsZsHVkRTIT7mw8furTM0prWL7DDqAj/
UWJJwTaJ2PfkwRfpcoC5AKhcpUbKYMJfYzJ+xdODCK/leSkGoJ7/Ml88GzQFYRaE/ElAJIFMB5NUpZOLzy0rpxY9ofj1C4PsS4YXxhP3jNlIOYzGtQeOFe2Ww==
                                                                                   Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 31 of 36



                                                                                                                                                                                                             Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com : Smiley Lanyard with Wallet, Zip ID Case with Lanyard, Lanyard with id Holder for Cash, Cards, Coin, Durable Card Holder Keychain with Zippers (New Prints 2022) (Smiley) : Office Products

   URL
   https://www.amazon.com/Smiley-Lanyard-Durable-Keychain-Zippers/dp/B09PKT36WS/ref=sr_1_93

   Collection Date
   Wed, 26 Apr 2023 08:20:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   aXBY1tbkjlYLk6oE9AXp9BIzIKAZf24IkYDA3UuOFBYbNMnhtLVODGO72qiszrYvFA6SWfetmgRlVA7wwPOzDKjWoi+IBEskL68Ovu7pJnSvoJDVz4I6d/cXF0PKdbjo0ikpgRqCrbd8LW5/sOZBe9GQj+brh5iwcy67H8Pv9b4=




                                                                                                            File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Lanyard-Durable-Keychain-Zippers[fs]dp[fs]B09PKT36WS[fs]ref=sr_1_93]]_Wed,-26-Apr-2023-08-20-15-GMT.pdf

   Hash (SHA256)
   f2f425e71a683b1976b1689841ead48ddb2c9e276759edbab2c1be752f3fa574

   Signature (PKCS#1v1.5)
pWzW7/oAktEHq5FSb1HixaUSfexFnAiHiJwKFRhfE97yAIuCBe+5aVBvl10YrIKLPYb+LF+Q6ezoJ1KYDeaeLZyMDxUlZ+4YXMceKoezij6ZawaV2dCfWAiq005kbTr+inLOOHg8LdXcB4B0dwDnJgjjADE5dw45rSlex/VUup4=
                                                                                 Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 32 of 36



                                                                                                                                                                                                             Investigator Name: Neha P




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   Page Title
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   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 15:27:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.22

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Izc+Vul6Cxnito5UKmJsyyPJOgK4V1wL5OYUU16NAbsrUSeqp1r/wtlzJbDmaBuHyOqOsj/X+eEUvjHuaHOVRLGnMJJ6Mc2K6gEYs5NjNs45TZMNi/BSPjEL2/URUA/HbOYK74xtyz4MtnboimKPwQCDGa8uCDu7KkKQnfur5IWEBpnMETr8WJkhTkM8vrEEjE0NNtEk8hZcW3FQA/
   kc3dpID1PUMtq/+g/xSgUbZfw54wGbzDDCs+ZnHWjRW4HhUK3T2kURtVsduWgrtWZ1dpv+LmJG1/QoJboz26sc4IudMmFuvM9zwmLwulYOrzubfC1zF5CtaGiN2XNQVV6pfA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-15-27-20-GMT.mhtml

   Hash (SHA256)
   874cf12b07429d07878b977e22ce84a3daf6f4cb133e5469697b1ef0eb97b0df

   Signature (PKCS#1v1.5)
n1Yzl/BHaFPF8/Wdltsdb1HyLchQ4TsEpx2Cxm1sDv18+3m5epswKi+6NM/fllc6EoKxjx9eK2nD1UOn76vgdEk0xLew1VxZotCbigl+DEz/oAGC5avS5T8qD+UOKBE+k572LPHFZm8fNA1KSsJXas4Ua+rnZ9e1KqP
+QI2Heu2rHXnOBWc0Qiy3cORdbv4KKC4CWlpgXjBP7HhWVekBfBdSbUF2LG6x0TUUjszqk2naFLL80nAwH/iSReOZVYmGVpiai02rAXg1I7i6B6WD7KF39jPpasPoHGMyChvaGHM3Eu0R9v31W1qk8gliUzFFcuRjZP43e93UftnCpguIiw==
                                                                               Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 33 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Graphic Dust Smiley Face Embroidered Iron on Patch Smile Logo Happy Happiness Backpack Jacket Yellow : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Graphic-Dust-Embroidered-Happiness-Backpack/dp/B00CGLG19A/ref=sr_1_174

   Collection Date
   Wed, 26 Apr 2023 05:20:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VJ0cV9egWX6TI3YO30JJKTYBPCQ8+xQ+E/BF2fREwW4FkaX4oCfDW0YhCvUcvaype2gCpU6WnvUELv6BCbX6nz1G4LUxzzcMtmTEictrrZSscC3+dxX9UbxXGh1pt8WvW8ZEQYHz+CYwqnrke3FEb4JruJeF6RC6vei5JMBganM=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Graphic-Dust-Embroidered-Happiness-Backpack[fs]dp[fs]B00CGLG19A[fs]ref=sr_1_174]]_Wed,-26-Apr-2023-05-20-24-GMT.pdf

   Hash (SHA256)
   b892c7865f0bfe31e602bc9f3e632190ff6dd16bb8f4f0713a36adb686e8b538

   Signature (PKCS#1v1.5)
M7FZ0XYeZ4WWJY9eFtg/XVDLXLqChWJBkxVfyNGTWW+rOOR65rh5U0wlmbxGidvyLJg0fdcDmGvU7kJuonZtIJpcqafFAWnvvvbYBSv+4Of3UlWeKqK5mS+u2uQb2/To0hf7p83BO7cXYTxcos4HDTVgikfx/hrZBIak0NqsFNc=
                                                                                Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 34 of 36



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 22:43:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Sdf+2GhoRMyPEd/3qaVGnWmlRxce1pMwCw0x0eK9v0QjxlgVpbmfif5dp+NhapBfj0SzKt6DHSgiau3dUG5Dp3XuWW/vLUIXEvTfGy8fQPVxbCrE2BwcvN8tq1Y3ig4gdFl4Lki5QkbD+16xqwi1EYCpDk/AEkpkAbSDHse95goUzeHYIjLY1JEk5ru28iYVnQcNDxg7wtJSCZN3rgjuPQi+M/
   pgx7ORXeDr/xpztb0jufrYmR4gfRE4RHeLv2pS9DD7pOhd57GJZH6Udwzy73h+pGIHR9vNCwliSG46LPP6AKVY3sZd8Maqpvl5RCZjC3QZWNwzota+jIVMaqQh9A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-22-43-11-GMT.mhtml

   Hash (SHA256)
   c6a22c721aba87f06f5ab6a0a16bfe7c5cc30d3bb03072158aaf76960d17bc94

   Signature (PKCS#1v1.5)
c9w1IUPCdIzwuCKMksx1BmmqbIKT4l0XRZ9O4xqDtLl8GRLnUw3BcrJ/9bhBPG6iCVsD6iv6kcCDF2lyBVHrayrvmjLchgb3sPXCelMUytGx6BydyP/YdYNTJHrY1VzpSJNWH0Tipuq+oi+dy7WJXDt5J2kc3pMTCu2QWhGd5yQRCVB+gTqx3cLyngvcnvRwb925NobQswPFt9NbQF3+jw3xNR
+4FTFAupZ8YmXgDRyJD9NmoRfYVbUDvQ7JR0ERjF6k/61CPfMDEdX6zDLF8dNhg3E8+U5mrm51mWiyFcu9cV2/DaHeoYVXup6/KTkbwfZK1krxhEf/sTVDYvC3aA==
                                                                               Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 35 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: OUYAGAOYUAN Compatible with iPhone 13 Case, Cute Colorful Retro Smiley Face Phone Case Shockproof Cover Case : Cell Phones & Accessories

   URL
   https://www.amazon.com/OUYAGAOYUAN-Compatible-iPhone-Colorful-Shockproof/dp/B0BP29BZB4/ref=sr_1_17_sspa

   Collection Date
   Mon, 24 Apr 2023 08:15:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   k5WJaJIqNjkJ9ayfNdFO5bKvv82UcVhj6mr+E42rQY//Ylk+kIv14KEWbxUlbza9MpB5jcALJhBAIYB3j0k8GdyDVbbm091sNHdkQo49BShiS0WBl1MyG+3hpkrQ1mVuSAd3kIO2OUUSS6Nqk6/iCX8+CTCGMFfpwzSTIzC46Yw=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]OUYAGAOYUAN-Compatible-iPhone-Colorful-Shockproof[fs]dp[fs]B0BP29BZB4[fs]ref=sr_1_17_sspa]]_Mon,-24-Apr-2023-08-15-58-GMT.pdf

   Hash (SHA256)
   a047a5c46894a40a8d914c1d5714bf85639bfd8ee60757619a757583df31cb80

   Signature (PKCS#1v1.5)
fIZbkz88+Pva2nSL5nQ0X2AaH5ArqQVM7j8GNPO1iB/YeZElKJM26nTTHLeXQ8WjOKAwVIDjVLWy2oZNa/DFy/aFErVLQccKkbVh/AXbHsWLQCks6WeMNtiGRzlku960RAGgrg29TFYGLpTaAIukr+mDlDrd128y9ZqCW1KcbPY=
                                                                                 Case 0:23-cv-61203-AHS Document 35-8 Entered on FLSD Docket 07/27/2023 Page 36 of 36



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                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 17:18:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TbNlF0Kj8WNXY9QMyf5Lna3I8GE2nQUvdwu1LmMfxr0sVIAnM9WC3kb7cPycQy6iNvmMOq86yM10g2j7WuHN3Lu0+2aqYtfNFxBLlM7IrABGMrjL8nJuU2PXjVNbhm6/
   WIc1Qp25ODhsZllm13x77aWqmR7wygLxda28V6HtnqfVZCBAoxoc8yYXCr96O7vBrGAerlignTFSvz8+2MgS9f7riFE9gUm50rS6H6nBiVQ1tCmfJKN2k1zXATgEJ/2aiEXrsHWJ5VPH3rSdFdB7Spec6pb3P6Buu+4vVq5tNmaraT98OKFmc+HkpkJarX82DZK8e6Au7iO1cr4ZNMHT9Q==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-17-18-41-GMT.mhtml

   Hash (SHA256)
   5602e3e5b10e3a308d996431da05876d1e7b80651421439cebe0eff5a6619010

   Signature (PKCS#1v1.5)
LTSrQ9KFq4ih/WGS0VyAHKHB4LtcEDUNWITprCnCLTKST7op1mZF0BEdHpaxvy1dI7lfGFIWLphlhFthVMsYXbJKjMcCpyehWZ0Jbld9ZBLtCF/6qpJUkfQ8goXKxwOgeD8sYRM5RqfN2/mHTwBe8IJsPUyjJfuC
+LOX9DpbcBJmhtafkq080umNRiHs98tt6aAJ9RVnejeNGA7ursxGGWIUFdccTUFKYxmsGnNK+UB9ZdTEtdqSyjyptZaffDbYMucgpJ0K5PKM0ztlmJ3W/tZu01Jc4q0fksTTwMLbqoH1v6WpCRufLAmdbaR2uiH76sOUPl7TYr36qr8NTwm2Dg==
